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Victor Sherman
‘NAME

11400 W. Olympic BI., Suite 1500

PRISON IDENTIFICATION/BOOKING NO.

_Los Angeles, CA 90064 / 424-371-5930

ADDRESS OR PLACE OF CONFINEMENT

 

 

 

Note: If represented by an attorney, provide name, address, & telephone
number. /t is your responsibility to notify the Clerk of Court in
writing of any change of address.

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER:

Plaintiff, CV. (4 -| Le SS

To be supplied by the Clerk of the United States District Court

 

 

 

VAIR SHOSHANI Criminal case under which sentence was imposed.
FULL NAME OF MOVANT
(Include name under which you were convicted) MOTION TO VACATE, SET ASIDE, OR
Petitioner. CORRECT SENTENCE BY A PERSON IN
FEDERAL CUSTODY
28 U.S.C § 2255

 

 

 

INSTRUCTIONS - READ CAREFULLY

This motion must be legibly handwritten or typewritten and signed by the movant under penalty of perjury. Any false statement of a
material fact may serve as the basis for prosecution and conviction for perjury. All questions must be answered concisely in the
proper space on the form. Where more room is needed to answer any questions use reverse side of sheet.

Additional pages are not permitted. No citation or authorities need be furnished. If briefs or arguments are submitted, they should
be submitted in the form of a separate memorandum.

Upon receipt, your motion will be filed if it is in proper order. NO FEE is required with this motion

If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a motion of this type, you may
request permission to proceed in forma pauperis, in which event you must execute the declaration on the last page, setting forth
information establishing your inability to pay costs. If you wish to proceed in forma pauperis, you must have an authorized officer. at
the penal institution complete the certificate as to the amount of money and securities on deposit to your credit in any account in the
institution.

Only judgments entered by one court may be challenged in a single motion. If you seek to challenge judgments entered by different
judges or divisions either in the same district or in a different district, you must file separate motions as to each judgment.

Your attention is directed tothe fact that you must include all grounds for reliefand all facts supporting such grounds for relief in the
motion you file seeking relief from any judgment of conviction.

When the motion is fully completed, the original and three (3) copies must be mailed to the Clerk of the United States District Court,
whose address is 255 East Temple Street, Suite TS-134, Los Angeles, California 90012.

 

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MOTION

1. Name and location of court that entered judgment of conviction under attack:

 

United States District Court for the Central District of California, Western Division

 

2. Date of judgment of conviction; March 10, 2016
3. Length of sentence; 60 months Sentencing judge: George H. King

 

4, Nature of offense or offenses for which you were convicted: Conspiracy to commit bank fraud

 

 

 

 

 

5. What was your plea? (check one)

CL) Not guilty

[7 but
L_}] Nolo Contendere

If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:

 

 

 

 

 

 

 

 

 

6. Kind of trial: (check one)
[1 Jury

[V |rudge only

7. Did you testify at the trial?

C) Yes [Y |No

8. Did you appeal from the judgment of conviction?

U Yes [v |No

 

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9. Ifyou did appeal, answer the following:

(a) Name of court
(b) Result

 

 

 

(c) Date of result

 

10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
applications, or motions with respect to this judgment in any federal court?

0 Yes [V]No

11. If your answer to question number 10 was “yes,” give the following information:
(a) (1) Name of Court

(2) Nature of proceeding

 

 

 

(3) Grounds raised

 

 

(4) Did you receive an evidentiary hearing on your petition, application, or motion?
LI Yes CO No
(5) Result

 

 

(6) Date of result
(b) (1) Name of Court
(2) Nature of proceeding

 

 

 

 

(3) Grounds raised

 

 

(4) Did you receive an evidentiary hearing on your petition, application, or motion?
O Yes CO No
(5) Result

 

 

(6) Date of result
(c) (1) Name of Court
(2) Nature of proceeding

 

 

 

 

(3) Grounds raised

 

 

(4) Did you receive an evidentiary hearing on your petition, application, or motion?

UL Yes No

 

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(5) Result

 

 

(6) Date of result

 

(d) Did you appeal, to an appellate federal court having jurisdiction, the results of action taken on any petition,
application, or motion?

(1) First petition, etc. CJ Yes (1 No
(2) Second petition, etc. LD) Yes LJ No
(3) Third petition, etc. L] Yes LJ No

(e) If you did not appeal from the adverse action on any petition, application, or motion, explain briefly why you did not:

 

 

 

 

 

 

12. State concisely every ground on which you claim that you are being held unlawfully.

CAUTION: If you fail to set forth all grounds in this motion, you may be barred from presenting additional grounds
at a later date. For your information, the following is a list of the most frequently raised grounds for relief in this
type of proceeding. Each statement preceded by a letter constitutes a separate ground for possible relief. You may raise
any grounds that you have, whether listed below or not. However, you should raise in this motion all available

grounds (relating to this conviction) on which you base your allegations that you are being held in custody unlawfully.

If you select one or more of the grounds listed below for relief, you must allege facts in support of the grounds you
select. The petition will be returned to you if you merely check (a) through (j) or any one or more of these grounds
without alleging facts in support.

(a) Conviction obtained by plea of guilty that was unlawfully induced or not made voluntarily or with
understanding of the nature of the charge and the consequences of the plea.

(b) Conviction obtained by use of coerced confession.

(c) Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.

(d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.

(e) Conviction obtained by violation of the privilege against self-incrimination.

(f) Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
favorable to the defendant.

(g) Conviction obtained by a violation of the protection against double jeopardy.

(h) Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.

(i) Denial of effective assistance of counsel. )

(j) Denial of right of appeal.

 

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A. Ground one: Denial of right of appeal

 

Supporting facts (tell your story briefly without citing cases or law): The district court informed Shoshani
that he had no right to appeal when, in fact, he retained the right to appeal an illegal or

unconstitutional sentence.

 

 

 

B. Ground two: Unlawful sentence of forfeiture and restitution

 

Supporting facts (tell your story briefly without citing cases or law): The court determined_an unlawful and
excessive forfeiture without assessing Shoshani's liability. It then assessed restitution in an

amount that took no account of the excess funds applied to forfeiture

 

 

 

 

C. Ground three: Lack of due process to determine restitution amount

 

 

Supporting facts (tell your story briefly without citing cases or law): The court accepted a summary
Spreadsheet submitted by the government to determine the amount of restitution, but did not

make an individualized and reliable assessment of defendant's liability

 

 

 

 

D. Ground four:

 

 

Supporting facts (tell your story briefly without citing cases or law):

 

 

 

 

 

13. If any of the grounds listed in 12 A, B, C, or D were not previously presented, state briefly what grounds were not

presented, and give your reasons for not presenting them:

 

 

 

14. Do you have any petition or appeal now pending in any court as to the judgment under attack?

C1 Yes [VINo

 

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15.

16.

17.

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Give the name and address, if known, of each attorney who represented you in the following stages of the judgment
attacked herein:

(a) Ata preliminary hearing: Waived

 

(b) At arraignment and plea: James W Spertus,
1990 South Bundy Drive Suite 705, Los Angeles, CA 90025

(c) At trial: Guilty plea

 

 

(d) At sentencing: James W Spertus,
1990 South Bundy Drive Suite 705, Los Angeles, CA 90025

(e) On appeal: N/A

 

 

 

(f) In any post-conviction proceeding: Victor Sherman (current)
11400 W. Olympic BI., Suite 1500, Los Angeles, CA 90064

 

(g) On appeal from any adverse ruling in a post-conviction proceeding:

 

 

Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court at
approximately the same time?

LI Yes [v INo

Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
OYes |¥|No

(a) Ifso, give the name and location of the court that imposed sentence to be served in the future:

 

(b) Give the date and length of sentence to be served in the future:

 

 

(c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed sentence to be
served in the future?

CU Yes [S.No

WHEREFORE, movant prays that the court grant him all relief to "0 he

 

  
 
 
   

I declare (or certify, verify, or state) under penalty of perjury that

Executed on a o i [ q

Date +

 

Signature of Movant

 

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